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 5                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 6                                         AT TACOMA

 7
        UNITED STATES OF AMERICA,
 8
                                                             CASE NO. CR12-5139BHS
                                 Plaintiff,
 9                                                           ORDER
                 v.
10
        KENNETH RANDLE DOOR,
11
                                 Defendant.
12
            This matter comes before the Court on Defendant’s unopposed motion for a continuance
13
     of the trial date. The Court, having considered the unopposed motion and the Defendant’s
14
     speedy trial waiver makes the following findings of fact and conclusions of law:
15
            1.     Defense counsel represents Mr. Door in a separate criminal matter, CR12-5126RBL,
16 set for trial before Judge Leighton on March 3, 2014, fifteen days before the scheduled trial date

17 in this case.

18          2. In the case before Judge Leighton, the defendant is exposed to a possible fifteen-year

19 mandatory minimum sentence, and the parties have informally agreed that the case before Judge

20 Leighton should proceed to trial first.
            3.     Taking into account the exercise of due diligence, a continuance is necessary to
21
     allow the defendant the reasonable time for effective preparation his defense, to explore
22


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 1 resolution of this case before trial and to substantially ensure continuity of defense counsel. 18

 2 U.S.C. § 3161(h)(7)(B)(iv).

 3          4. Proceeding to trial absent adequate time for the defense to prepare would result in a

     miscarriage of justice. 18 U.S.C. §3161(h)(7)(B)(i).
 4
            5. The ends of justice served by granting this continuance outweigh the best interests of
 5
     the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A) and (B).
 6
            6. Defendant waived speedy trial through May 30, 2014.
 7
            NOW, THEREFORE, IT IS HEREBY ORDERED
 8
            That the trial date is continued from March 18, 2014, to May 27, 2014, at 9:00 a.m.
 9
     Pretrial Conference is set for May 12, 2014, at 9:00 a.m. The resulting period of delay from
10 February 10, 2014, to May 27, 2014, is hereby excluded for speedy trial purposes under 18

11 U.S.C. § 3161(h)(7)(A) and (B)

12          Dated this 13th day of February, 2014.

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                                                  A
                                                  BENJAMIN H. SETTLE
                                                  United States District Judge
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     ORDER - 2
